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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 9   THAT ONE VIDEO                      ) Case No. 2:23-CV-02687 SVW
     ENTERTAINMENT, LLC, a California ) (JCx)
10   limited liability company,          )
                                         ) ORDER
11                           Plaintiff,  )
                                         )
12          v.                           )
13                                       )
     KOIL CONTENT CREATION PTY           )
14   LTD., an Australian proprietary     )
     limited company doing business as   )
15   NOPIXEL; MITCHELL CLOUT, an         )
     individual; and DOES 1-25,          )
16   inclusive,                          )
                             Defendants. )
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           On September 23, 2024, Defendants Koil Content Creation Pty Ltd. and Mitchell

25   Clout filed a motion for summary judgment. On October 18, 2024, the parties stipulated

26   that judgment be entered in favor of Koil Content Creation Pty. Ltd. and Mitchell Clout.
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                                                                              [Proposed] Order
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